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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,
                                                      Case No.: 1:20-cv-03010-APM
                 v.
                                                      HON. AMIT P. MEHTA
 GOOGLE LLC,

                                Defendant.


  [PROPOSED] ORDER GRANTING MOVING PARTIES STATES OF WISCONSIN
               AND MICHIGAN’S MOTION FOR JOINDER

       Having considered the facts and circumstances of this case, as well as Prospective

Plaintiff State of Wisconsin’s and Prospective Plaintiff State of Michigan’s Motion for Joinder,

and all related and relevant pleadings, it is HEREBY ORDERED that:

       1. THE PROSPECTIVE PLAINTIFF STATES OF WISCONSIN’S AND MICHIGAN’S

MOTION FOR JOINDER AS PLAINTIFFS is GRANTED.

       2. The States of Michigan and Wisconsin are hereby joined in this action pursuant to

Federal Rule of Civil Procedure 20.

       3. The Court finds that the requirements of Federal Rule of Civil Procedure 20 are

satisfied. Michigan and Wisconsin seek relief common to the existing plaintiffs, based on

“question of law or fact common to all plaintiffs.” The States of Michigan and Wisconsin seek

to assert equivalent rights to relief arising out the same series of transactions or occurrences, and

under questions of law or fact common to all plaintiffs in this action. The Court further finds




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that States of Michigan’s and Wisconsin’s motion is timely and its joinder is on just terms, and

that defendant Google will not be prejudiced by granting this motion.

       4. Plaintiffs are directed to file an amended complaint adding the States of Michigan and

Wisconsin as plaintiffs in this case on or before the final deadline for amending the pleadings, as

specified in any scheduling order. Until that time, all parties shall treat Michigan and Wisconsin

as if the complaint had been so amended.

       5. For the aforementioned amended complaint, in addition to adding the States of

Michigan and Wisconsin as plaintiffs in the caption and adding signature blocks for the States of

Michigan and Wisconsin, plaintiffs shall insert the word “Michigan,” after the word “Louisiana,”

in the introductory, unnumbered paragraph on page 2 and in paragraph 15 of the current

complaint filed on October 20, 2020 and plaintiffs shall insert the word “ and Wisconsin,” after

the words “and Texas,” striking the “and” before Texas in the introductory, unnumbered

paragraph on page 2 and in paragraph 15 of the current Complaint filed on October 20, 2020.




       SO ORDERED this ____day of __________, 2020.



                                                     __________________________________
                                                     Amit P. Mehta, United States District Judge




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